                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 15-35133-rld
Elbert G Garboden                                                                                          Chapter 7
Sherry L Garboden
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Feb 09, 2016
                                      Form ID: pdf018                    Total Noticed: 17

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 11, 2016.
db/jdb         +Elbert G Garboden,    Sherry L Garboden,    12054 Chapin Court,   Oregon City, OR 97045-3989
cr             +CitiMortgage, Inc.,    C/O ALDRIDGE PITE, LLP,    4375 Jutland Drive, Suite 200,
                 P.O. Box 17933,     San Diego, CA 92177-7921
cr             +Wells Fargo Bank N.A. dba Wells Fargo Dealer Servi,     P.O. Box 3569,
                 Rancho Cucamonga, CA 91729-3569
101096465       Bank of America,    PO Box 650070,    Dallas, TX 75265-0070
101096466       Bank of America,    PO Box 851001,    Dallas, TX 75285-1001
101096468       Citi Mortgage,   PO Box 689196,    Des Moines, IA 50368-9196
101096469       Firestone/Credit First NA,    PO Box 81344,    Cleveland, OH 44188-0344
101096470       Home Depot Credit Services,    PO Box 78011,    Phoenix, AZ 85062-8011
101096474      +OnPoint Credit Union,    PO Box 3750,    Portland, OR 97208-3750
101096476       Wells Fargo Card Services,    PO Box 30086,    Los Angeles, CA 90030-0086
101096477       Wells Fargo Dealer Services,    PO Box 25341,    Santa Ana, CA 92799-5341

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: ZyCredit.A.User@lesschwab.com Feb 10 2016 00:50:45
                 Les Schwab Tire Centers of Portland Inc,   POB 5350,   Bend, OR 97708-5350
101096467       E-mail/PDF: gecsedi@recoverycorp.com Feb 10 2016 00:52:40     Chevron/Synchrony Bank,
                 PO Box 530950,   Atlanta, GA 30353-0950
101096471       E-mail/Text: cio.bncmail@irs.gov Feb 10 2016 00:50:13     Internal Revenue Service,
                 PO Box 7346,   Philadelphia, PA 19101-7346
101096472      +E-mail/Text: ZyCredit.A.User@lesschwab.com Feb 10 2016 00:50:45     Les Schwab,   PO Box 5350,
                 Bend, OR 97708-5350
101096473      +E-mail/Text: bankruptcy.revenue@oregon.gov Feb 10 2016 00:50:01     ODR,
                 955 Center Street, NE Room 353,   Attn: Bankruptcy Unit,   Salem, OR 97301-2555
101096475       E-mail/PDF: gecsedi@recoverycorp.com Feb 10 2016 00:52:32     Phillips 66 Co/SYNCB,
                 PO Box 530942,   Atlanta, GA 30353-0942
                                                                                            TOTAL: 6

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 11, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 9, 2016 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                                      Case 15-35133-rld7              Doc 24       Filed 02/11/16
                                                                                         DISTRICT OF OREGON
                                                                                              FILED
                                                                                            February 09, 2016
                                                                                      Clerk, U.S. Bankruptcy Court




            IT IS ORDERED AND NOTICE IS GIVEN that a hearing on the matter below shall be
            set by the court in a separate Notice of Hearing which may be enclosed with this Order.




                                                                      _______________________________________
                                                                                  RANDALL L. DUNN
                                                                                U.S. Bankruptcy Judge




                                   UNITED STATES BANKRUPTCY COURT

                                             DISTRICT OF OREGON



In re                                           )
Elbert Garboden                                 )             15-35133-rld7
                                                    Case No.________________
Sherry Garboden                                 )
                                                )   MOTION AND NOTICE OF INTENT
                                                )   TO SETTLE AND COMPROMISE,
                                                )   AND ORDER THEREON
Debtor(s)                                       )



                                               Amy Mitchell
         The undersigned trustee, _____________________________, moves to settle and compromise the
following described dispute upon the following terms:
The Debtors own real property at 12054 Chapin Ct., Oregon City OR (the "Real Property"). The Debtors may
assert an exemption in the Real Property. There is no non-exempt equity in the Real Property. Turning Leaf
Homes III, LLC ("Turning Leaf") offered to purchase the Bankruptcy Estate's interest in the Real Property, subject
to all liens and interests of third parties. The Trustee is willing to transfer the Estate's interest in the Real
Property "as is, where is" and subject to all liens and interests, but the Trustee cannot convey the Real Property
without addressing the Debtors' potential exemption.
          To settle this matter, the Debtors waive all available exemption in the Real Property as to the Bankruptcy
Estate for the sole purpose of Turning Leaf acquiring the Real Property. In exchange for this waiver, Turning Leaf
will pay the Debtors $5,000. In addition, Turning Leaf will pay Debtor’s attorney $1,000 for Debtor's legal fees
associated with this transaction. Turning Leaf will pay the Bankruptcy Estate $5,000, upon approval of this
settlement, for all of the Estate's interest in the Real Property, subject to any liens and/or interests of third
parties. This settlement will generate funds for the Estate from an asset that would likely be abandoned absent
the Debtors' exemption waiver and Turning Leaf’s offer.

NOTE: After the Court enters this settlement notice, Trustee will serve the notice on all remaining lienholders for
the Real Property.



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                                                 ###


DATE: ___________
         2/8/16                                /s/ Amy Mitchell
                                               ______________________________________________
                                                                  Trustee

                                                PO Box 2289
                               Service Address: ______________________________________________

                                               Lake Oswego, OR 97035
                                               ______________________________________________

                                               None
                 Name of Attorney for Trustee: ______________________________________________

                                                N/A
                               Service Address: ______________________________________________

                                               ______________________________________________




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